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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )                   8:09CR382
                    Plaintiff,            )
                                          )
             v.                           )
                                          )                    ORDER
ROSEANN CRISMAN,                          )
                                          )
                    Defendant.            )
                                          )


      This matter came before the court for sentencing on June 9, 2010. On defendant’s

oral motion and without objection, the court orders that defendant is to be held by the

United States Marshals Service for the District of Nebraska until August 1, 2010. The

Judgment and Statement of Reasons will be filed separately.

      DATED this 9th day of June, 2010.


                                         BY THE COURT:



                                         s/ Joseph F. Bataillon
                                         Chief United States District Judge
